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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

 UNITED STATES OF AMERICA

        v.                                    No. 2:25-mj-00107-KFW

 MARVIN AGUILAR-LOPEZ


             AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

      I, Scott M. Hanton, Border Patrol Agent of the United States Border Patrol, being

first duly sworn, hereby depose and state as follows:

       1.     I am a Border Patrol Agent-Intelligence with the United States Border

Patrol ("USBP"), currently assigned to the Houlton Sector Intelligence Unit in Hodgdon,

Maine. I have been an agent with the USBP since November 29, 2010. I completed the

USBP Academy in February of 2011, where I received instruction in constitutional law,

immigration law, criminal law, and federal and civil statutes. I have also received

training in the detection, interdiction, and arrest of narcotics smugglers, alien

smugglers, and aliens illegally present in the United States. In the course of my

employment with USBP, I have been assigned to the Highway 90 and Highway Bo

immigration checkpoints in Arizona, where I was the primary agent for multiple

narcotic and human smuggling cases.

       2.     From March 2020 to August 2022, I was assigned as a Case Agent for the

Tucson Sector Prosecution Unit. I have conducted numerous criminal investigations

involving illicit activity and have gathered and structured evidence and facts pertaining
to administrative and criminal immigration cases. In the course of my duties, I have

taken sworn statements from material witnesses and suspects. I routinely perform
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record checks through various law enforcement databases to establish accuracy of
information as well as to gather facts further relevant to a respective case. I have acted
as a liaison between the United States Attorney's Office and field agents, and I have
assisted fellow agents in the development of their cases. I am currently assigned to
collateral duty as a Houlton Sector Prosecutions Case Manager within the Law
Enforcement and Operations Division.
       3.     I make this affidavit in support of a Criminal Complaint charging Marvin
AGUILAR-Lopez with one count of Illegal Re-Entry After Deportation, in violation of
Title 8, United States Code, Section 1326(a). The information contained in this affidavit
is based on my review of reports prepared by other law enforcement officers and
conversations with involved personnel, as well as my training and experience as a
prosecution case agent.
                        STATEMENT OF PROBABLE CAUSE

       4.     On March 12, 2025, at approximately 12:55 AM, a Border Patrol Agent
("BPA") assigned to the Calais Border Patrol Station was contacted by Old Orchard
Beach Police (OOBPD) officers that indicated they had performed a motor vehicle stop
for driving at night without taillights near 189 Saco Avenue, Old Orchard Beach, Maine.
The reporting officer informed the BPA that the driver and sole occupant of the vehicle,
a 2010 Volkswagen Jetta bearing a Maine registration, had presented an international
driver's license with no other supporting documents. Officers were unable to verify the
individual's identification, which lead them to call the BPA for assistance. The officer
indicated to the BPA that the name on the identification was Marvin AGUILAR-LOPEZ
and that officers had learned the individual was from Guatemala.
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       5.     At approximately 1:29 AM, the BPA arrived at the scene. The BPA

approached the subject, who was standing outside of the vehicle speaking with the

OOBPD officers. The BPA heard the subject (later confirmed to be Marvin AGUILAR­

Lopez) speaking to the officers in the Spanish language. The BPA joined the

conversation and conducted the remainder of the field interview in the Spanish

language. AGUILAR-LOPEZ indicated to the BPA that he was a citizen of Guatemala.

When asked if he had any immigration documents that would allow him to enter or

remain in the United States, AGUILAR-LOPEZ stated that he only had a Guatemalan

passport at his house. The BPA then placed AGUILAR-LOPEZ into immigration

custody and placed him in the back of his marked service vehicle. The BPA subsequently

read AGUILAR-LOPEZ his rights in the Spanish language, who stated that he

understood his rights. The BPA informed AGUILAR-LOPEZ that he was being detained

for being illegally present in the United States.

       6.     A records check of AGUILAR-LOPEZ found no potential claim to United

States Citizenship. The records check also determined that AGUILAR-LOPEZ had been

previously removed from the United States on about June 8, 2023, through Alexandria,

Louisiana. AGUILAR-LOPEZ stated to Border Patrol that he does not possess any

immigration documents that would allow him to enter, remain in, or pass through the

United States.

       7.     Based on my training and experience, and supported by the foregoing

facts, I have probable cause to believe the defendant violated Title 8, United States
Code, Section 1326(a). I respectfully request that the accompanying Criminal Complaint

be issued.
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